                Case
                Case 1:22-mj-00091-RMM
                     4:22-mj-00309-HCA Document
                                       Document 18
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                                                   Filed05/05/22
                                                         05/05/22 Page
                                                                   Page11ofof27
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                                       UNITED STATES DISTRICT COURT                                    WESTERN DIVISION
                                        SOUTHERN DISTRICT OF IOWA                                  U. S. Post Office and Federal Building
                                                   123 East Walnut Street                               8 South 6th Street, Room 313
                                                  Des Moines, Iowa 50309                                 Council Bluffs, Iowa 51501
                                                    Tel: (515) 284-6248                                        (712) 328-0283

                                                                                                        EASTERN DIVISION
                                                                                                       131 East 4th Street, Suite 150
                                                                                                         Davenport, Iowa 52801
                                                                                                             (563)884-7607




District of Columbia

                               ✔ Magistrate Case
Transfer of G Criminal Case or G
SDIA Case No. 4:22-mj-00309-HCA                  Case Title: USA v. Heathcote - District of Columbia: 1:22-mj-91

Dear Sir/Madam:

Pursuant to F.R.CR.P. 5:
✔ This is an electronically filed case and the documents are available through Pacer
G
G Certified copy of case file documents (Filed prior to November 1, 2004**) and docket sheet
G Not for public view document (pursuant to Judicial Conference policy)
✔ Other Sealed Financial Affidavit also sent via email
G
Pursuant to G F.R.CR.P. 20 / G F.R.CR.P. 21:
G This is an electronically filed case and the documents are available through Pacer.
G Certified copy of case file documents (Filed prior to November 1, 2004**) and docket sheet
G Not for public view document (pursuant to Judicial Conference policy)
G Other
Pursuant to 18 U.S.C. § 3605 Transfer of Jurisdiction G Supervised Release            G Probation
G This is an electronically filed case and the documents are available through Pacer.
G Certified copy of case file documents (Filed prior to November 1, 2004**) and docket sheet
G Not for public view document (pursuant to Judicial Conference policy)
G Other


   **Note: Documents filed on or after November 1, 2004 are available electronically through PACER.
   Electronically filed documents can be retrieved by using your court’s PACER account .


                                                                Sincerely,

                                                                Clerk, U.S. District Court

                                                                By    /s/ M. Mast
                                                                      Deputy Clerk



                                   TO BE COMPLETED BY RECEIVING DISTRICT

Please acknowledge receipt via e-mail to the address listed below and provide the case number assigned in your district:

    Iasd_casemanagers@iasd.uscourts.gov
                                                                      Clerk, U.S. District Court


                                                                By:
Date                                                                  Deputy Clerk




 CR-48 (1/11)                                          Criminal Cover Letter
Case 1:22-mj-00091-RMM Document 7 Filed 05/05/22 Page 2 of 27
                     Case
                      Case1:22-mj-00091-RMM
                           4:22-mj-00309-HCA Document
                                             Document 71 Filed
                                                         Filed 05/05/22
                                                               05/04/22 Page
                                                                        Page 31 of
                                                                                of 27
                                                                                   1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                                                                    )
                      Chad Heathcote                                )
                      DOB:                                          )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                              in the
                         LQ WKH 'LVWULFW RI      &ROXPELD       , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1) and (2) - Enter and Remain with Intent to Impede or Disrupt an Official
        Proceeding in a Restricted Building;
        40 U.S.C. § 5104(e)(2)(D) and (G) - Disorderly or Disruptive Conduct in the Capitol Buildings or
        Grounds, Parade, Demonstrate, or Picket in any of the Capitol Buildings.



         This criminal complaint is based on these facts:
  6HH DWWDFKHG VWDWHPHQW RI IDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Tyler Johnson, Special Agent
                                                                                               Printed name and title

$WWHVWHG WR E\ WKH DSSOLFDQW LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI )HG 5 &ULP 3 
E\ WHOHSKRQH                                                                                              2022.05.03
Date:
                                                                                                           12:31:29 -04'00'
                  05/03/2022
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ '&                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
        Case
        Case4:22-mj-00309-HCA
             1:22-mj-00091-RMM Document
                                Document1-1
                                         7 Filed
                                            Filed05/05/22
                                                  05/04/22 Page
                                                           Page41of
                                                                  of27
                                                                     12




                                   STATEMENT OF FACTS

        Your affiant, Tyler Johnson, is a Special Agent assigned to the Omaha Field Office, Des
Moines Resident Agency, Joint Terrorism Task Force. In my duties as a special agent, I investigate
allegations associated with international terrorism and domestic terrorism. I have completed
training and gained experience in interviewing and interrogation techniques, arrest procedures,
search warrant applications, the execution of searches and seizures, and various other criminal
laws and procedures. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
Case 1:22-mj-00091-RMM Document 7 Filed 05/05/22 Page 5 of 27
        Case
        Case4:22-mj-00309-HCA
             1:22-mj-00091-RMM Document
                                Document1-1
                                         7 Filed
                                            Filed05/05/22
                                                  05/04/22 Page
                                                           Page63of
                                                                  of27
                                                                     12




        On or about February 10, 2021, the FBI received an additional tip from another witness
(Witness-2) stating that “Chad” bragged on Facebook about being in Washington, D.C. to stop the
steal. However, he took down his Twitter and Facebook account the day after the riot. Witness-2
said “Chad” could be seen on video of the riot that was shown at the Impeachment “Trail,” likely
meaning “trial,” and was wearing a pink gas mask. Witness-2 also described “Chad” as recording
with a phone attached to a selfie stick. On or about March 29, 2021, the FBI conducted an
interview of Witness-2. Witness-2 reported viewing a MSNBC news article when he/she
recognized HEATHCOTE in a photograph. Witness-2 knows HEATHCOTE through mutual
friends and is highly certain the person he/she observed was HEATHCOTE. Witness-2 further
stated that other mutual friends also recognized HEATHCOTE from the MSNBC photographs.
Witness-2 then showed the FBI images from the news depicting a person inside of the U.S. Capitol
wearing a pink mask, some of which are depicted below. Witness-2 indicated that the person in
those images was HEATHCOTE. Based upon further investigation, your Affiant does not believe
that the person in the pink mask in the news photos provided by Witness-2 is HEATHCOTE.
Witness-2 also provided the FBI the above-described LinkedIn profile photograph, which your
Affiant believes does depict HEATHCOTE.




                              (photograph provided by Witness-2)
        Case
        Case4:22-mj-00309-HCA
             1:22-mj-00091-RMM Document
                                Document1-1
                                         7 Filed
                                            Filed05/05/22
                                                  05/04/22 Page
                                                           Page74of
                                                                  of27
                                                                     12




                               (photograph provided by Witness-2)

        Witness-2 further stated that he/she was friends with HEATHCOTE on Facebook but that
HEATHCOTE deleted his profile on or about January 7, 2021. Witness-2 did not observe any
posts on HEATHCOTE’s Facebook page depicting him inside of the Capitol. However, prior to
the deletion, HEATHCOTE was bragging about being at the U.S. Capitol. Witness-2 provided the
FBI with HEATHCOTE’s Facebook username, which is Chad Heathcote. Witness-2 further stated
that he/she has not seen HEATHCOTE for approximately one year but believes HEATHCOTE
lives in West Des Moines, Iowa.

        Records lawfully provided by Facebook revealed that the Facebook account provided by
Witness-2 is registered to HEATHCOTE with telephone number XXX-XXX-1934. Facebook
further revealed that the account was deactivated on or about January 8, 2021. Records lawfully
received from Verizon identified the subscriber of telephone number XXX-XXX-1934 as
HEATHCOTE.

         According to records obtained through a search warrant served on Google, a mobile device
associated with chad63e@gmail.com was present at the U.S. Capitol on January 6, 2021. Google
estimates device location using sources including GPS data and information about nearby Wi-Fi
access points and Bluetooth beacons. This location data varies in its accuracy, depending on the
source(s) of the data. As a result, Google assigns a “maps display radius” for each location data
point. Thus, where Google estimates that its location data is accurate to within 10 meters, Google
assigns a “maps display radius” of 10 meters to the location data point. Finally, Google reports
that its “maps display radius” reflects the actual location of the covered device approximately 68%
        Case
        Case4:22-mj-00309-HCA
             1:22-mj-00091-RMM Document
                                Document1-1
                                         7 Filed
                                            Filed05/05/22
                                                  05/04/22 Page
                                                           Page85of
                                                                  of27
                                                                     12




of the time. In this case, Google location data shows that a device associated with
chad63e@gmail.com was within the northern wing of the U.S. Capitol at 15:06 EST on January
6, 2021. Google records show that the “maps display radius” for this location data was 7 meters,
which encompasses an area that is entirely within the U.S. Capitol Building.

       Google later provided the subscriber information for e-mail address chad63e@gmail.com,
which revealed that the e-mail address is subscribed to Chad Heathcote with a recover SMS of
XXX-XXX-1934.

        Additionally, FBI personnel reviewed video footage from the U.S. Capitol security
cameras during the times in which HEATHCOTE’s cellular telephone was identified as being
located inside of the Capitol. In reviewing the video footage, FBI personnel identified
HEATHCOTE as being physically present inside the U.S. Capitol, more specifically entering the
north side of the capitol and being stopped by law enforcement. HEATHCOTE then raised what
appears to be a cellular telephone phone in his hand, as though he was filming or photographing
the area.




                                 (HEATHCOTE circled in red)
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        Case4:22-mj-00309-HCA
             1:22-mj-00091-RMM Document
                                Document1-1
                                         7 Filed
                                            Filed05/05/22
                                                  05/04/22 Page
                                                           Page96of
                                                                  of27
                                                                     12




                                 (HEATHCOTE circled in red)

        Additionally, the FBI obtained a video, which was voluntarily provided by a person located
at the Capitol on January 6, 2021, which depicted the exterior of the U.S. Capitol and
HEATHCOTE can be observed approaching the Capitol building, where two officers in riot gear
were guarding a door. In this video, your affiant observed the mole on HEATHCOTE’s left cheek,
similar to that as depicted in HEATHCOTE’s Iowa driver’s license photograph. HEATHCOTE
can then be observed reaching for the door when one of the officers (Officer #1) moves between
HEATHCOTE and the door. HEATHCOTE and Officer #1 engaged in a conversation, which is
inaudible. Another rioter (Rioter) then moves towards the door, between HEATHCOTE and
Officer #1. Meanwhile, HEATHCOTE engaged the second officer (Officer #2), also dressed in
riot gear, in a conversation, which is inaudible. Rioter then pulled open the door and
HEATHCOTE walked into the U.S. Capitol, while Rioter held the door open. Moments later,
Rioter entered the Capitol after HEATHCOTE, and other rioters nearby started to enter the U.S.
Capitol as well.
  Case 4:22-mj-00309-HCA
       1:22-mj-00091-RMM Document
                         Document1-1
                                  7 Filed
                                     Filed05/05/22
                                           05/04/22 Page
                                                     Page10
                                                          7 of 27
                                                               12




(HEATHCOTE, circled in red, approaching the door guarded by Officers #1 and #2)
 Case 4:22-mj-00309-HCA
      1:22-mj-00091-RMM Document
                        Document1-1
                                 7 Filed
                                    Filed05/05/22
                                          05/04/22 Page
                                                    Page11
                                                         8 of 27
                                                              12




             (HEATHCOTE circled in red engaging with Officer #1)




(HEATHCOTE circled in red, standing in front of Officer #2, Rioter circled in blue)
       Case 4:22-mj-00309-HCA
            1:22-mj-00091-RMM Document
                              Document1-1
                                       7 Filed
                                          Filed05/05/22
                                                05/04/22 Page
                                                          Page12
                                                               9 of 27
                                                                    12




              (HEATHCOTE circled in red and Rioter opening the door circled in blue)

        On October 7, 2021, Witness-2 was shown the below four photographs, and Witness-2
identified the individual depicted in the photographs as HEATHCOTE.
       Case
       Case4:22-mj-00309-HCA
            1:22-mj-00091-RMM Document
                               Document1-1
                                        7 Filed
                                           Filed05/05/22
                                                 05/04/22 Page
                                                          Page13
                                                               10of
                                                                  of27
                                                                     12




        On December 15, 2021, the FBI interviewed another individual Witness-3, who reported
seeing several members of his/her church make Facebook posts regarding January 6, 2021. During
the interview, Witness-3 was shown the above four photographs of HEATHCOTE, which were
previously shown to Witness-2. Witness-3 stated that he/she knew the individual in the
photographs by the nickname “D-Love” and that the individual’s name might be “Derrick” but
       Case
       Case4:22-mj-00309-HCA
            1:22-mj-00091-RMM Document
                               Document1-1
                                        7 Filed
                                           Filed05/05/22
                                                 05/04/22 Page
                                                          Page14
                                                               11of
                                                                  of27
                                                                     12




was not sure. Witness-3 then gave two telephone numbers that may be this individual’s telephone
numbers; however, the FBI have not been able to identify any connection between either telephone
numbers and HEATHCOTE. Witness-3 then stated his/her close friend would remember the
individual’s name. Witness-3 also stated that the individual depicted in the photographs deleted
his Facebook page shortly after January 6, 2021. Approximately 10 minutes after leaving the
interview, Witness-3 contacted the FBI and indicated that he/she spoke to his/her close friend. The
friend identified the individual with the nickname as “D-Love” as Chad Heathcote. Witness-3
stated that after hearing this, Witness-3 now recalls this individual to be named HEATHCOTE.

       On or about March 22, 2022, the FBI interviewed another individual (Witness-4), who
knows HEATHCOTE through work. Witness-4 was shown the below photograph, and Witness-
4 identified the individual as HEATHCOTE. Witness-4 did not want to provide additional
information.




                                (photograph shown to Witness-4)


         Based on the foregoing, your affiant submits that there is probable cause to believe that
HEATHCOTE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.
Case 1:22-mj-00091-RMM Document 7 Filed 05/05/22 Page 15 of 27
        Case
        Case1:22-mj-00091-RMM
             4:22-mj-00309-HCA Document 1-2
                                        7 Filed
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                                                05/05/22
                                                  05/04/22Page
                                                           Page161of
                                                                   of27
                                                                      1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :
                                               :       VIOLATIONS:
                                               :
CHAD HEATHCOTE,                                :
                                               :       18 U.S.C. § 1752(a)(1) and (2)
                                               :       (Restricted Building or Grounds)
               Defendant.                      :
                                               :       40 U.S.C. § 5104(e)(2)(D) and (G)
                                               :       (Violent Entry or Disorderly Conduct)

                                              ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe

the disclosure will result in flight from prosecution, destruction of or tampering with evidence,

and serious jeopardy to the investigation, the United States has established that a compelling

governmental interest exists to justify the requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

that the affidavit in support of criminal complaint and other related materials, the instant

application to seal, and this Order are sealed until the arrest warrant is executed.

       2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.



Date: May 3, 2022                                      ___________________________________
                                                       HON. ROBIN M. MERIWEATHER
                                                       UNITED STATES MAGISTRATE JUDGE



                                                   1
        Case
         Case1:22-mj-00091-RMM
               4:22-mj-00309-HCA Document
                                  Document77 Filed
                                              Filed05/05/22
                                                    05/04/22 Page
                                                              Page17
                                                                   1 of
                                                                     of 127




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA

                                                  )
UNITED STATES of AMERICA,                         )
                                                  )
               Plaintiff,                         )                 4:22-mj-00309-HCA
                                                           Case No. ______________________
                                                  )
                vs.                               )
                                                  )               RULE 5 ORDER
 Chad Heathcote                                   )
                                ,
                                                  )
               Defendant.                         )
                                                  )

       Pursuant to the Due Process Protections Act, the Court confirms the United States'

obligation to disclose to the defendant all exculpatory evidence-that is, evidence that favors the

defendant or casts doubt on the United States' case, as required by Brady v. Maryland, 373 U.S.

83 (1963) and its progeny, and ORDERS the United States to do so. Failure to disclose

exculpatory evidence in a timely manner may result in consequences, including, but not limited

to, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt proceedings,

disciplinary action, or sanctions by the Court.


       IT IS SO ORDERED.




Date: May 4, 2022
                                                                       Judge’s signature


                                                      Helen C. Adams, Chief U.S. Magistrate Judge
                                                                      Printed name and title
Case
 Case1:22-mj-00091-RMM
       4:22-mj-00309-HCA Document
                          Document78 Filed
                                      Filed05/05/22
                                            05/04/22 Page
                                                      Page18
                                                           1 of
                                                             of 127
                 Case
                  Case1:22-mj-00091-RMM
                       4:22-mj-00309-HCA Document
                                         Document 710 Filed
                                                       Filed05/05/22
                                                             05/04/22 Page
                                                                       Page191 of
                                                                               of 27
                                                                                  4


AO 199A       (Rev. 7/19) Orde r Setting Conditions of Release                                                                   Page 1 of 4 Pages




                                      UNITED STATES DISTRICT COURT

                     SOUTHERN                                       District of                                  IOWA


             United States of America
                                                                                           ORDER SETTING CONDITIONS
                             v.                                                                   OFRELEASE

              Chad Allen Heathcote                                          Case Number: 4:22-MJ-00309-001
                         Defendant

IT IS ORDERED that the release of the defendant is subject to the following conditions:

          @     The defendant must not commit any offense in violation of federal, state or local law on release in this case.

          � The defendant must immediately advise the court or the pretrial services office or supervising officer in writing before
          p any change in address and telephone number.

          @     The defendant must appear at all proceedings as required and shall surrender for service of any sentence imposed as
                directed. The defendant shall appear at (if blanisi, t9, be no.tifted) __ _ __ __U_._S_. _C_ou_rt_ho_ _u _ s_e____ __
                                                                      c,"' U::ih.1 n-.1:H ._.,
                                  Des Moines, Iowa f 1) i;s-h don _______ ____a�s_di� re_ c_ te_ d_ __________
                                                        t
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety
of other persons and the community. IT IS FURTHER ORDERED that the release of the defendant is subject to the conditions marked
below:

            (4) The defendant is placed in the custody of:
           (Name of person or organization) _______________________________
           (Address)__________________ _ ____________________
           (City and State) __ _______________(Tel.No .)_________________

who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the
appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant
violates any conditions of release or disappears.
                                                                 Signed:_____,--- -----,,--------
                                                                                 ---,-,                                            Date
                                                                             Custodian or Proxy




                 DISTRIBUTION:       COURT         DEFENDANT        PRETRIAL          SERVICES   U.S. ATTORNEY    U.S. MARSHAL
                      Case
                       Case1:22-mj-00091-RMM
                            4:22-mj-00309-HCA Document
                                              Document 710 Filed
                                                            Filed05/05/22
                                                                  05/04/22 Page
                                                                            Page202 of
                                                                                    of 27
                                                                                       4


AO 1998        (Rev. 6/1 I) Additional Conditions of Release                                                                                                 Page 2 of 4




    ( ✓)   (5)         The defendant must:


           ( ✓)        (a)     report to the Pretrial S ervices Office                       5 _15_-_3_3_2-_1_6_8_7 ___., not later than ___________
                                                                         telephone number ____
           ( ✓)        (b)    maintain or actively seek employment.

                       (c)    maintain or commence an education program.

           ( ✓)        (d)     surrender any passport to: _U�S�P_O�------------------
           ( ✓)        (e)     obtain no passport.
           (           (f)     abide by the following restrictions on personal association, place of abode, or travel: No travel outside the continental United S tates. The
               \I')
                               defendant may travel to the District of Columbia for court purposes only. He must inform the U S PO when traveling outside of Iowa.
           ( ✓)        (g)    avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential witness in the subj ect
                               investigation or prosecution, including but not limited to: _____________________________


                       (h)     undergo a mental health evaluation and participate in mental health treatment, to include inpatient services, if required, as directed by
                              the supervising officer.
                       (i)    maintain residence at a halfway house or community corrections center, as deemed necessary by the U.S. Probation Office. All costs will
                               be paid by the U. S . Probation Office provided the defendant is making satisfactory progress towards goals set by the supervising officer.
                              Within 60 days of the date of this Order, the Court will be provided an update on the defendant's status and progress towards community
                              placement.
           ( ✓)        (j)    refrain from possessing a firearm, ammunition, destructive device, or other dangerous weapons.
           ( ✓)        (k)    refrain from (    ) any ( { ) excessive use of alcohol.
           ( ✓)        (I)    refrain from use or unlawful possession of a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by
                              a licensed medical practitioner. This provision does not pennit the use or possession of medical marijuana even with a physician's
                              certification. The defendant is prohibited from using or possessing any synthetic intoxicating substance, including but not limited to
                              "Spice", "K·2" or other forms of synthetic marijuana.
           ( ✓ ) (m)          submit to any method of testing required by the pretrial services office or the supervising officer for detennining whether the defendant is
                              using a prohibited substance. S uch methods may be used with random frequency and include urine testing, the wearing of a sweat patch, a
                              remote alcohol testing system, and/or any form of prohibited substance screening or testing.
           ( ✓)        (n)    undergo a substance abuse evaluation and participate in substance abuse treatment, to include inpatient services, if required, as directed by
                              the supervising officer.
                       (o )   participate in one of the following location restriction programs and comply with its requirements as directed. (CHECK ONE):
                                  (i)        ) Curfew: You are restricted to your residence every day (     ) from _____ to ____� or (                     ) as approved by
                                         the probation officer or supervising officer; or
                                 (ii)        ) Home Detention: You are restricted to your residence at all times except for employment; education; religious services;
                                         medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                         activities approved in advance by the probation office or supervising officer; or
                                 (iii)      ) Home Incarceration: You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                         court appearances or other activities specifically approved by the Court.
                       (p)    submit to the following location monitoring technology and comply with all of the program requirements and instructions provided. The
                              defendant shall refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of location
                              monitoring. The defendant shall pay all or part of the location monitoring cost as directed by the officer. (CHECK ONE):
                                                     ) Technology as directed by USPO

                                                     ) Radio Frequency (RF) monitoring

                                                     ) Global Positioning S atellite (GPS)

                                                     ) Voice Recognition
           ( { ) (q)          report as soon as possible to the pretrial services office or supervising officer any contact with law enforcement personnel, including, but
                              not limited to, any arrest, questioning, or traffic stop.
           ( { ) (r)          permit a Probation Officer to vistit him or her at any time at home or other approved residence.

           (      ) (s)
             Case
              Case1:22-mj-00091-RMM
                   4:22-mj-00309-HCA Document
                                     Document 710 Filed
                                                   Filed05/05/22
                                                         05/04/22 Page
                                                                   Page213 of
                                                                           of 27
                                                                              4

AO 199B   (Rev. 6/11) Additional Conditions of Release                             Page 3 of 4




          IT JS FURTHER ORDERED:
                  Case
                   Case1:22-mj-00091-RMM
                        4:22-mj-00309-HCA Document
                                          Document 710 Filed
                                                        Filed05/05/22
                                                              05/04/22 Page
                                                                        Page224 of
                                                                                of 27
                                                                                   4


 AO l99C       (Rev. 6/11) Advise of Penalties                                                                                    Page 4 of 4

                                                  Advice of Penalties and Sanctions
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
        A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
  revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a
  fine, or both.
        The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
  of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
  misdemeanor. This sentence shall be in addition to any other sentence.
        Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to obstruct a criminal
  investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness,
  victim or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate
  a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly
  more serious if they involve a killing or attempted killing.
       lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
  you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
          {I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be
                 fined not more than $250,000 or imprisoned for not more than ten years, or both;
          ( ) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined
           2
                 not more than $250,000 or imprisoned for not more than five years, or both;
          (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
          (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
        A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
  addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                     Acknowledgement of Defendant
        I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
  conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and
  sanctions set forth above.




                                                 Directions to United States Marshal

   (✓l     The defendant is ORDERED released after processing.
           The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer
           that the defendant has posted bond and/or complied with all other conditions for release. The defendant shall be



                                                                             H�\b\, . Q: _ -��
           produced before the appropriate judicial officer at the time and place specified, if still in custody.


 Date: ________.M=ay     4....,, 2,,_,0,..,,22= _______
                   ,;.......,-
                                                                                              Signature of Judicial Officer

                                                                                     Helen C. Adams, Chief U.S. Magistrate Judge
                                                                                          Name and Title of Judicial Officer
                      Case
                       Case1:22-mj-00091-RMM
                            4:22-mj-00309-HCA Document
                                              Document 713 Filed
                                                            Filed05/05/22
                                                                  05/04/22 Page
                                                                            Page231 of
                                                                                    of 27
                                                                                       1

AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                      SOUTHERN
                                                       __________ DISTRICT    OF IOWA
                                                                  District of __________

                   United States of America                                    )
                              v.                                               )       Case No. 4:22-mj-00309-HCA
                         Chad Heathcote                                        )
                                                                               )       Charging District:          District of Columbia
                              Defendant                                        )       Charging District’s Case No. 1:22-mj-00091


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place: U.S. District Court, District of Columbia                                       Courtroom No.: Via Zoom
         Before the Honorable Judge Robin M. Meriweather
         Via Zoom Video Conference                                                     Date and Time: 5/12/2022 1:00 pm

        The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:            May 4, 2022
                                                                                                           Judge’s signature

                                                                                     Helen C. Adams, Chief U.S. Magistrate Judge
                                                                                                        Printed name and title
CM/ECF - U.S. District Court:iasd                                        Page 1 of 4
          Case 1:22-mj-00091-RMM Document 7 Filed 05/05/22 Page 24 of 27



                           Query      Reports     Utilities   Help   What's New    Log Out

                                                                                             TERMED

                             U.S. District Court
                      Southern District of Iowa (Central)
             CRIMINAL DOCKET FOR CASE #: 4:22-mj-00309-HCA-1


Case title: USA v. Heathcote                                  Date Filed: 05/04/2022

 Other court case number: 1:22-mj-00091 District of           Date Terminated: 05/05/2022
                          Columbia


Assigned to: Chief Magistrate Judge
Helen C. Adams

Defendant (1)
Chad Heathcote                                  represented by Andrew James Graeve
TERMINATED: 05/05/2022                                         FEDERAL PUBLIC DEFENDERS
                                                               OFFICE
                                                               400 LOCUST STREET
                                                               SUITE 340
                                                               DES MOINES, IA 50309-2353
                                                               515-309-9610
                                                               Fax: 515-309-9625
                                                               Email: andrew_graeve@fd.org
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Public Defender or
                                                               Community Defender Appointment

                                                              Melanie S. Keiper
                                                              FEDERAL PUBLIC DEFENDERS
                                                              OFFICE
                                                              400 LOCUST STREET
                                                              SUITE 340
                                                              DES MOINES, IA 50309-2353
                                                              515-309-9610
                                                              Fax: 515-309-9625
                                                              Email: melanie_keiper@fd.org
                                                              TERMINATED: 05/05/2022
                                                              Designation: Public Defender or
                                                              Community Defender Appointment

Pending Counts                                                Disposition




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CM/ECF - U.S. District Court:iasd                                        Page 2 of 4
          Case 1:22-mj-00091-RMM Document 7 Filed 05/05/22 Page 25 of 27


None

Highest Offense Level (Opening)
None

Terminated Counts                                           Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                  Disposition
18:1752(a)(1), (2) - Enter and Remain
with Intent to Impede or Disrupt an
Official Proceeding in a Restricted
Building; 40:5104(e)(2)(D), (G) -
Disorderly or Disruptive Conduct in the
Capitol Buildings or Grounds, Parade,
Demonstrate, or Picket in any of the
Capitol Buildings



Plaintiff
USA                                         represented by Adam J. Kerndt
                                                           UNITED STATES ATTORNEY'S
                                                           OFFICE - DSM
                                                           110 E COURT AVE
                                                           SUITE 286
                                                           DES MOINES, IA 50309
                                                           515-473-9300
                                                           Fax: 515-473-9292
                                                           Email: Adam.Kerndt@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Government - Federal


 Date Filed      #   Docket Text
 05/06/2022     19 Bail/Bond Report (Sealed) as to Chad Heathcote. (Davidson, Priscilla) (Entered:
                   05/06/2022)
 05/05/2022     18 TRANSFER LETTER to the District of Columbia as to Chad Heathcote.
                   Emailed to the District of Columbia. (mm) (Entered: 05/05/2022)
 05/05/2022     17 TEXT ORDER re 16 Waiver of Preliminary Hearing as to Chad Heathcote. The
                   Court accepts the Waiver and finds probable cause to believe Defendant has



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CM/ECF - U.S. District Court:iasd                                        Page 3 of 4
          Case 1:22-mj-00091-RMM Document 7 Filed 05/05/22 Page 26 of 27


                     committed offenses as charged in the criminal complaint. The Preliminary
                     Hearing set for 5/10/2022 is canceled. Signed by Chief Magistrate Judge Helen
                     C. Adams on 5/5/2022. (k) (Entered: 05/05/2022)
 05/05/2022     16 WAIVER of Preliminary Hearing as to Chad Heathcote. (Graeve, Andrew)
                   (Entered: 05/05/2022)
 05/04/2022     15 NOTICE OF ATTORNEY APPEARANCE: FPD Andrew James Graeve
                   appearing for Chad Heathcote (Graeve, Andrew) (Entered: 05/04/2022)
 05/04/2022     14 Sealed Text as to Chad Heathcote. Counsel and Defendant are directed to appear
                   for the Initial Appearance on 5/12/2022 at 1:00 PM (EDT) using the following
                   zoom connection information: Meeting ID: 161 8952 5787. Passcode: 860903.
                   This information is for use by counsel and defendant only and is not to be
                   provided to other individuals. (mm) (Entered: 05/04/2022)
 05/04/2022     13 ORDER REQUIRING DEFENDANT TO APPEAR as to Chad Heathcote.
                   Defendant is released from custody and ordered to appear in the District of
                   Columbia via Zoom video conference for an Initial Appearance before the
                   Honorable Magistrate Judge Robin M. Meriweather on 5/12/2022 at 1:00 PM
                   (EDT). Sealed Zoom conference instructions for counsel to follow. The public
                   and/or media may connect to the hearing using telephone number 1-866-590-
                   5055 and entering access code 5496501# at the prompt. Signed by Chief
                   Magistrate Judge Helen C. Adams on 5/4/2022. (mm) (Entered: 05/04/2022)
 05/04/2022     12 ORDER SCHEDULING PRELIMINARY HEARING as to Chad Heathcote.
                   The Preliminary Hearing is set for 5/10/2022 at 01:00 PM in Des Moines -
                   Room 455 - 4th Floor South before Chief Magistrate Judge Helen C. Adams.
                   Signed by Chief Magistrate Judge Helen C. Adams on 5/4/2022. (mm) (Entered:
                   05/04/2022)
 05/04/2022     11 Sealed Order Setting Conditions of Release as to Chad Heathcote. (mm)
                   (Entered: 05/04/2022)
 05/04/2022     10 ORDER SETTING CONDITIONS OF RELEASE and granting 9 Motion for
                   Release as to Chad Heathcote (1). Signed by Chief Magistrate Judge Helen C.
                   Adams on 5/4/2022. (mm) (Entered: 05/04/2022)
 05/04/2022      9 ORAL MOTION for Release on Bond by USA as to Chad Heathcote. (mm)
                   (Entered: 05/04/2022)
 05/04/2022      8 WAIVER of Rule 5(c)(3) Identity Hearing as to Chad Heathcote. (mm)
                   (Entered: 05/04/2022)
 05/04/2022      7 RULE 5 ORDER as to Chad Heathcote. Signed by Chief Magistrate Judge
                   Helen C. Adams on 5/4/2022. (mm) (Entered: 05/04/2022)
 05/04/2022      6 ORDER FOR APPOINTMENT OF COUNSEL as to Chad Heathcote. Signed
                   by Chief Magistrate Judge Helen C. Adams on 5/4/2022. (mm) (Entered:
                   05/04/2022)
 05/04/2022      5 CJA 23 Financial Affidavit as to Chad Heathcote. (mm) (Entered: 05/04/2022)
 05/04/2022      4 Minute Entry for proceedings held before Chief Magistrate Judge Helen C.
                   Adams: Initial Appearance in Rule 5(c)(3) Proceedings as to Chad Heathcote



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CM/ECF - U.S. District Court:iasd                                        Page 4 of 4
          Case 1:22-mj-00091-RMM Document 7 Filed 05/05/22 Page 27 of 27


                     held on 5/4/2022. Preliminary Hearing set for 5/10/2022 at 01:00 PM in Des
                     Moines - Room 455 - 4th Floor South before Chief Magistrate Judge Helen C.
                     Adams. (Court Reporter FTR Gold.) (mm) (Entered: 05/04/2022)
 05/04/2022      3 TEXT ORDER as to Chad Heathcote setting an Initial Appearance - Rule 5(c)
                   (3) for 5/4/2022 at 01:30 PM in Des Moines - Room 455 - 4th Floor South
                   before Chief Magistrate Judge Helen C. Adams. Signed by Chief Magistrate
                   Judge Helen C. Adams on 5/4/2022. (mm) (Entered: 05/04/2022)
 05/04/2022      2 Sealed Arrest Warrant from the District of Columbia as to Chad Heathcote.
                   (mm) (Entered: 05/04/2022)
 05/04/2022      1 Rule 5(c)(3) Documents Received as to Chad Heathcote from the District of
                   Columbia. (Attachments: # 1 Affidavit, # 2 Sealing Order) (mm) (Entered:
                   05/04/2022)
 05/04/2022          Arrest (Rule 5.c.3) of Chad Heathcote from charges pending in District of
                     District of Columbia. (mm) (Entered: 05/04/2022)




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